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                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION



MPT, Inc.,                                   )       CASE NO. 1:04 CV2357
                                             )
                      Plaintiff,             )       JUDGE PATRICIA A. GAUGHAN
                                             )
               vs.                           )
                                             )
                                             )
Marathon Labels, Inc., et al.,               )       Order
                                             )
                      Defendants.            )


       INTRODUCTION

       This matter is before the Court upon two discovery disputes between plaintiff and certain

defendants. On July 1, 2005 and July 19, 2005, defendants sought, via letters, the Court’s

assistance in resolving the disputes. The Court treated the letters as motions to compel and set a

briefing schedule. The motions are now fully briefed. For the reasons that follow, the motions

are DENIED.

       DISCUSSION

       Plaintiff, MPT, Inc. brings this patent infringement action against defendants, MPT, Inc.,



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Marathon Durable Labeling Systems LLC, Polymeric Converting LLC and Sunbelt Consulting

Group, LLC. Plaintiff alleges that defendants infringe U.S. Patent Nos. 5,417,790 (’790 Patent)

and RE37,164 (’164 Patent).

       July 1 Motion

       A. Interrogatories

       In their July 1, 2005 motion, defendants Sunbelt Consulting Group and Polymeric

Converting LLC (hereafter “defendants”) move the Court to compel responses to Interrogatory

Nos. 13 and 14. Interrogatory No. 13 provides,

       State whether MPT owns United States published application US 2003/D145945 A1,
       published August 7, 2003 (hereafter “Patent Application”) and identify all documents that
       relate to your answer.

       Plaintiff objected to this interrogatory on the grounds that it seeks information that is not

likely to lead to the discovery of admissible evidence.

       It appears that defendants inadvertently propounded two interrogatories numbered 14.

Plaintiff concedes that both are at issue in this dispute. For ease of reference, the Court will refer

to them as Interrogatory No. 14A and Interrogatory No. 14B. Interrogatory No. 14A provides,

       State whether MPT contends that the term “release coated” as used in the claims of the
       ’790 Patent has a meaning that is the same as the term “release surface” in the claims of
       the Patent Application. If MPT does so contend, explain in detail the reason(s) for the
       contention and identify all documents relevant to your answer.

       Interrogatory No. 14B provides,

       Explain in detail the reason(s) why the term “release surface” is used in the claims of the
       Patent Application and not the term “release coating,” which is used in the patents in suit
       and identify all documents that relate to your answer.

        Plaintiff objected to both of these interrogatories on the grounds that the information is



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not likely to lead to the discovery of admissible evidence because the Patent Application is

neither at issue in the present lawsuit nor a continuation of a patent at issue in the lawsuit.

       Defendants argue that they are entitled to discovery of this information because the Patent

Application is relevant to the interpretation and claim construction of the patents in suit.

According to defendants, the product accused of infringement does not have a “release coating.”

Defendants argue that discovery concerning the Patent Application is relevant because it may

show that an MPT principal used the term in a manner that contradicts its position in this

lawsuit.1 According to defendants, the aforementioned discovery is also relevant because it may

demonstrate that one skilled in the art recognizes the difference between certain terms.

Defendants further appear to argue that the conduct of plaintiff’s counsel in questioning

witnesses concerning “RFID technology2” undermines plaintiff’s position as to the relevancy of

this discovery.

       Plaintiff responds that the Patent Application covers RFID technology, which is wholly

unrelated to the patents in suit. Plaintiff also argues that the Federal Circuit has held that the

prosecution history of an unrelated patent is not relevant to claim construction even when the

unrelated patent shares both a common subject matter and inventor. In this case, the patents in

suit and the Patent Application do not even share a common inventor. According to plaintiff,


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         Defendants initially argue that plaintiff alleges infringement under
         the doctrine of equivalents. Defendants admit, however, that
         plaintiff indicated during discovery that it is not relying on this
         doctrine to establish infringement.
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         It appears that the patents in suit involve a method for labeling and
         relabeling containers. According to plaintiff, RFID technology or
         “radio frequency identification tags” is unrelated to the patents in
         suit.

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defendants currently have their own patent application involving RFID pending and defendants

are improperly attempting to gain a competitive advantage with regard to the RFID technology.

Plaintiff further claims that the protective order that is in place is insufficient to protect it because

defense counsel in this case is also prosecuting defendants’ RFID patent application.

        In response, defendants argue that information regarding the Patent Application is

relevant because the application expressly incorporates by reference the text of the patents in suit.

Defendants also argue that the facts underlying the Patent Application are discoverable under

Federal Rule of Evidence 613 and Federal Rule of Civil Procedure 26(b)(1), which address prior

inconsistent statements and the discovery of impeachment evidence. Defendants further claim

that the Patent Application may be used to judicially estop plaintiff from asserting its proffered

claim construction. In addition, defendants provide evidence that its attorneys in this case are no

longer prosecuting the RFID patent. As such, plaintiff’s argument that defendants are attempting

to gain an unfair competitive advantage is misguided.

        In reply, plaintiff argues that even though the Patent Application incorporates the text of

the patents in suit, the Patent Application is nonetheless irrelevant. According to plaintiff, this

argument was rejected by the Federal Circuit in Abbot Labs. v. Dey, 287 F.3d 1097 (Fed. Cir.

2002). Likewise, plaintiff argues that Abbot Labs. rejected defendants’ argument that the Patent

Application can be used to estop plaintiff during the claim construction process.

        Upon review of the relevant law, the Court finds that defendants are not entitled to the

requested discovery because it is not relevant to this lawsuit. In Texas Digital Sys. v. Telegenix,

Inc., 308 F.3d 1193 (Fed. Cir. 2002), the Federal Circuit addressed the relevancy of claims

contained in an unrelated patent. The court concluded as follows,


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       [Appellant] does not dispute that the patents in suit describe the seven-segment pattern in
       exemplary language. Instead, [appellant] argues that [an unrelated patent] establishes that
       the same inventor represented matrix displays and seven-segment displays as two
       separate embodiments of the same invention. We fail to understand the relevance of
       [appellant’s] argument. Whether or not the claims in an unrelated patent are broad
       enough to encompass both a matrix and the familiar seven-segment pattern, this
       proposition sheds no light on whether the claims of the patents in suit are limited to the
       seven segment pattern.

Id. at 1211.

       Like Telegenix, the Court finds that the claims contained in the Patent Application are not

relevant to determination of the meaning of the claims at issue in the patents in suit. The Patent

Application is not a continuation, continuation-in-part or divisional patent to the patents in suit

and, as such, no formal relationship exists between the claims in each document.3 Based on

Telegenix, the Court finds that the discovery sought by defendants relating to the Patent

Application is not relevant to this dispute.

       Defendants argue that Telegenix is not controlling because the case did not involve a

discovery dispute. According to defendants, the fact that the prior patent was discussed in the

case necessarily means it was subject to discovery. This Court rejects defendants’ argument. In

Telegenix defendant simply pointed to the claims in the unrelated patent, which were contained

in a public document readily available to defendant. There is no indication that any party took

discovery on this issue. Moreover, even if the parties in Telegenix took discovery of the


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         Defendants argue that because the Patent Application “incorporates
         by reference” the patents in suit, information related to the Patent
         Application is discoverable. Defendants, however, cite no
         authority for this proposition. Absent any authority or explanation
         as to why “incorporation by reference” should be construed as a
         related patent, the Court rejects defendants’ assertion. Moreover,
         as plaintiff points out, the patents in suit and the Patent Application
         do not share a common inventor.

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unrelated patents, the case cannot be read as broadly as defendants suggest, i.e, that such

discovery is permitted. At best, Telegenix is silent on the issue. Given its holding that claims in

unrelated patents are not relevant for purposes of claim construction, it would be impossible to

reconcile the holding with defendants’ assertion that discovery of such material is allowed.

Accordingly, the Court finds that, absent additional argument from defendants, Telegenix

precludes discovery into the Patent Application.

          Defendants further argue that the Federal Circuit did not foreclose discovery of patent

documents demonstrating how one of “ordinary skill in the art” would interpret a claim term.

Nor did the court abandon the well-established principle that ordinary meaning in the art is

relevant to claim construction. In response, plaintiff argues that the Patent Application is not

relevant to evidence how “one skilled in the art” would understand the terms at issue in the

patents in suit. Plaintiff argues that such an analysis is conducted from the vantage point of “one

skilled in the art” at or around the time of the claimed invention. In this case, plaintiff points out

that the Patent Application was submitted over a decade after protection for the patents in suit

was sought. Defendants ask the Court to reject this argument because it is not supported by

evidence and may be relevant to show how terms in the patents in suit changed meaning over the

years.4

          Upon review, the Court agrees with plaintiff. Plaintiff provides the Court with authority

indicating that evidence of how one of “ordinary skill in the art” would interpret a claim term

should be analyzed from the viewpoint of one skilled in the art at the time the application for the


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           For purposes of clarity, this Court incorporated some of the
           relevancy arguments raised in connection with the July 19 motion.
           The parties also combined the relevancy arguments in their briefs.

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patent in suit was filed. See, e.g., Moba v. Diamond Automation, 325 F.3d 1306., 1315 (Fed. Cir.

2003)(“as this court has repeatedly counseled, the best indicator of claim meaning is its usage in

context as understood by one of skill in the art at the time of invention”)(emphasis added).

Defendants, on the other hand, provide no authority for the proposition that evidence of “how

claims change over time” is relevant to a claim construction analysis. Nor does the Court accept

defendants’ argument that evidence is needed to establish plaintiff’s position on this point.

        The Court further rejects defendants’ claim that evidence related to the prosecution of the

Patent Application is relevant to establish estoppel. This argument was expressly rejected in

Abbot Labs, wherein the Federal Circuit concluded that a claim of estoppel cannot be based on

statements made during the prosecution of an unrelated patent. See, Abbot Labs., 287 F.3d at

1104-05.

        Similarly, defendants fail to convince the Court that information gathered during the

prosecution of the Patent Application is discoverable as impeachment evidence or to demonstrate

prior inconsistent statements/statements against interest. Defendants rely on Middleton, Inc. v.

Minnesota Mining and Mfg. Co., 311 F.3d 1384 (Fed. Cir. 2003) in support of their position that

it is “well settled” that statements against interest may be used during the claim construction

process. Middleton, however, stands for no such proposition. If anything, Middleton supports

plaintiff’s position that any evidence of one “skilled in the art” must be taken from the vantage

point of one skilled in the art at or near the time of invention, not ten years after the fact.

Specifically, the court held,

        Patent terms are not subject to later revision by a supply contract. If a contract supplies
        some insight into the understanding of skilled artisans at the time of invention, it may
        have some relevance to claim construction....


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Middleton, 311 F.3d at 1389 (emphasis added).

         In short, defendants provide the Court with no authority suggesting that the prosecution of

an unrelated patent is admissible for impeachment purposes or to show either prior inconsistent

statements or statements against interest.

         Based on the foregoing, the Court finds that defendants are not entitled to the discovery

sought in Interrogatories 13, 14A, 14B because they seek information that is not relevant nor

likely to lead to the discovery of admissible evidence.

         B. Document Request

         Defendants also move to compel documents pursuant to Document Request No. 5, which

seeks,

         All documents, including letters, that passed between The Kennedy Group and or MPT
         and/or the inventor, on the one hand, and attorneys of the firm Watts Hoffman Fisher &
         Heinke Co., on the other hand, in addition to the November 30, 1994 [letter] to Watts
         Hoffman Fisher & Heinke Co. that is of record in the file history of the ’790 Patent.

         Plaintiff objected on this Request on the grounds that it seeks information protected by

the attorney-client privilege.

         According to defendants, plaintiff waived the right to assert the attorney-client privilege

because it voluntarily disclosed to the Patent Office a letter sent by an MPT executive to the

Watts, Hoffman law firm.5 The first two sentences of the letter provide, “[h]ere are additional


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           Although expressly indicating that the letter is between “an MPT
          executive” and patent counsel, defendants argue for the first time
          in their reply brief that the privilege does not belong to MPT.
          Rather, it appears that defendants argue the ’790 Patent was
          assigned to the Kennedy Group before a purported assignment to
          Michael Kennedy. As such, the communications were between
          non-party Michael Kennedy and his attorneys. As this Court has
          often held, however, arguments raised for the first time in a reply

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comments for my declaration. Use the ones you feel are appropriate.” The letter goes on to

describe various aspects of the proposed patent and essentially makes arguments in favor of

issuance of the patent.

        Plaintiff in essence argues that the letter is not privileged because it does not contain

confidential information. According to plaintiff, it gave the information contained in the letter to

its prosecution counsel with the intention that the information be made public. Plaintiff claims

that there was never any intention to waive the attorney-client privilege as to any matter.

Plaintiff further argues that even if the letter is construed as a waiver, it would be limited only to

the explicit subject matter set forth in the letter. Plaintiff points out that Request No. 5 is not

limited in any fashion and, instead seeks every document that ever “passed between” plaintiff its

patent prosecution counsel.

        Upon review of the document request, the Court finds that defendants’ motion must be

denied. Although the Court leaves open the question of whether the document itself is subject to

the attorney-client privilege, there is no doubt that the document request is overly broad as

drafted. The request seeks, without limitation, every document that ever passed between the

Kennedy Group, MPT or the inventor and the Watts, Hoffman law firm. There is no temporal

limitation on the request, nor is it limited in subject matter. Conceivably, this request seeks

information wholly unrelated to any issue in this case. Thus, even assuming that the November

30 letter is subject to the attorney-client privilege and that the disclosure of the letter waived the




         brief will not be considered because the opposing side does not
         have an opportunity to respond to the argument.

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 privilege, the request is overbroad as drafted.6 Accordingly, defendants’ motion to compel must

 be denied.

        July 17 Motion

        In the July 17 Motion, defendants move the Court to compel responses to certain

 questions asked at the July 14th deposition of Patrick Kennedy, the named inventor on the Patent

 Application. According to defendants, they sought the following information at the deposition,

        •         the scope of the invention set forth in the Patent Application;

        •         the notes or sketches Kennedy prepared when he conceived his invention, without
                  the advice of patent counsel;

        •         the origin of the contents of the Patent Application;

        •         the meanings he attributes to the claim terms contained in the patents in suit and
                  the Patent Application;

        Plaintiff’s counsel instructed the witness not to answer questions related to these topics

 on the grounds that the questions sought information that is both irrelevant and protected by the

 attorney-client privilege. Some of the objections were based solely on relevance.

        In support of their position that the information sought is relevant, defendants make the

 same arguments set forth above. Defendants further claim that objections based on relevance

 alone are improper. In addition, defendants argue that the information sought is not protected by



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            Defendants do not expressly seek to limit the request. In their
            reply brief they do, however, indicate that disclosure of the letter
            waived any applicable privilege and, as such, “defendants [are]
            entitled to discovery regarding the broad subject matter of the letter
            including the prosecution of the patents-in-suit.” The Court finds
            that this statement is insufficient to allow the Court to modify the
            request in any cogent manner, even if such a request had been
            made.

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 the attorney-client privilege. Defendants further argue that Kennedy was permitted to answer

 some questions relating to the Patent Application and, as such, he waived any applicable

 privilege.

        In response to defendants’ relevancy arguments, plaintiff essentially presents the same

 arguments set forth above in the context of the written discovery. In addition, plaintiff claims

 that much of the information sought is protected by the attorney-client privilege. Plaintiff also

 argues that it permitted Kennedy to respond to questions concerning the patent claims at issue in

 this lawsuit and the meaning of disputed terms, provided the questions did not involve the Patent

 Application.

        This Court has concluded that defendants are not entitled to written discovery concerning

 the Patent Application because it is neither relevant nor likely to lead to discovery of admissible

 evidence. Defendants make no additional arguments that were not considered by the Court and

 rejected. Accordingly, for the reasons stated above, the Court finds that defendants are not

 entitled to redepose Kennedy. As a result, the Court need not reach the issue of whether the

 information is also protected by the attorney-client privilege.

        As a final matter, the Court feels compelled to address defendants’ argument regarding

 the use of relevancy objections during a deposition. As a general matter, the civil rules prohibit

 an attorney from instructing a witness not to answer questions based on relevancy. See Fed. R.

 Civ. Pro. 30(d)(1). Rather, the appropriate course is to seek a protective order during the

 deposition. See Fed. R. Civ. Pro. 30(d)(4)(emphasis added). In this case, however, the dispute as

 to the relevancy of the Patent Application was pending before the Court at the time of the




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 deposition.7 Although counsel should have moved for a protective order during the deposition,

 the Court finds that, on the unique facts of this case, defendants are not entitled to redepose

 Kennedy. Given that the issue of the relevancy of the Patent Application was pending before the

 Court, together with the amount of resources that would be wasted on an irrelevant inquiry,

 requiring Kennedy to appear for a second deposition makes no sense. The Court strongly

 cautions counsel, however, that relevancy objections made during a deposition are not proper and

 may result in the imposition of sanctions in the future.

        CONCLUSION

        For the foregoing reasons defendants’ motions to compel are DENIED.

        IT IS SO ORDERED.




                                        /s/ Patricia A. Gaughan
                                        PATRICIA A. GAUGHAN
                                        United States District Judge


 Dated: 8/23/05




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          On July 1, 2005, defendants moved to compel responses to the
          interrogatories on the grounds that information related to the Patent
          Application is relevant to this dispute. Upon receipt of the letter,
          the Court set a briefing schedule. The deposition occurred during
          the course of the briefing schedule.

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